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                                                                                  E-FILED
                                                           Friday, 18 July, 2014 03:03:10 PM
                                                               Clerk, U.S. District Court, ILCD

                  UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF ILLINOIS
                      SPRINGFIELD DIVISION


PAUL E. KINCAID,                     )
                                     )
                                     )
Plaintiff,                           )
                                     )
v.                                   )     09-CV-3053
                                     )
SANGAMON COUNTY, et al.,             )
                                     )
Defendants.                          )


                                   OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

      At the status conference on July 18, 2014, the Court heard

argument on Plaintiff's motion to reopen discovery. As the Court

ruled at that conference, Plaintiff's motion is granted over

Defendants' strenuous objections. Federal Rule of Civil Procedure

15(a)(2) requires leave to be freely given when justice requires. The

discovery sought by Plaintiff is no more than what Plaintiff would

have been able to obtain had he had an attorney earlier.

Defendants will not be prejudiced because the Court will reopen

discovery for them as well.
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     After the status conference, the Court attempted to coordinate

a confidential video conference between Plaintiff and his appointed

pro bono attorney but this was not permitted due to policy and

concerns over the video equipment. Plaintiff's pro bono counsel will

require confidential communications with his client, and allowing

these to happen by video will save resources for pro bono counsel

and for the prison, which will otherwise need to bring Plaintiff in

person. Plaintiff may be shackled in the video room to protect the

equipment. At the next hearing, Plaintiff will appear by video if he

will be permitted a confidential video communication with his

attorney. Otherwise, the Court will writ Plaintiff to the courthouse

to appear in person.


IT IS ORDERED:


  1. Plaintiff's expert disclosures are due October 1, 2014.

  2. Defendants' expert disclosures are due November 3, 2014.

  3. All discovery closes January 30, 2015.

  4. Dispositive motions are due February 27, 2015.

  5. The final pretrial conference is rescheduled for April 13, 2015

     at 2:00 p.m.
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  6. The jury selection and trial are rescheduled for April 28, 2015

    at 9:00 a.m.

  7. The motions in limine are denied with leave to renew two

    weeks before the final pretrial conference. (186, 187).

  8. Plaintiff's motion for an extension is denied as moot (194).

  9. Plaintiff’s motion to reopen fact and independent expert

    discovery and to vacate trial setting for September 29, 2014

    [196] is granted over objections.

  10.     The clerk is directed to send a copy of this order to the

    Warden of Marion Penitentiary.


ENTERED: July 18, 2014
FOR THE COURT:
                                     s/Sue E. Myerscough
                                     SUE E. MYERSCOUGH
                                 UNITED STATES DISTRICT JUDGE
